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               UNITED STATES DISTRICT COURT
        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 VANESSA WEREKO, in her individual capacity           )
    Plaintiff,                                        )
                            vs.                       )
                                                      )
 HON. LORI ROSEN, Associate Judge in Cook County,     )
                                                      )
 HON. DAVID E. HARACZ, Associate Judge in Cook        ) Case No. 1:22-cv-02177
 County,                                              )
                                                      )
 HON. RAUL VEGA, Retired Judge in Cook County,        ) Judge: DOW
                                                      )
 HON. MARY S. TREW, Associate Judge in Cook County ) Magistrate: COLE
                                                      )
 HON. GRACE G. DICKLER, Judge in Cook County,         )
                                                      ) Demand for Jury Trial
 KATHLEEN P. LIPINSKI, Licensed Court Reporter,       )
                                                      )
 HON. JOSEPH V. SALVI, Associate Judge in Lake        )
 County,                                              )
                                                      )
 HON. TERRENCE J. LAVIN, Appointed Justice in the     )
 Appellate Court of Illinois,                         )
                                                      )
 HON. MARY ELLEN COGHLAN, Appointed Justice in )
 the Appellate Court of Illinois,
                                                      )
                                                      )
 HON. AURELIA MARIE PUCINSKI, Elected Justice in
                                                      )
 the Appellate Court of Illinois,
                                                      )
                                                      )
 SARAH E. INGERSOLL, Assistant Attorney General,
                                                      )
                                                      )
 THERESA A. EAGLESON, Director of the Illinois
 Department of Healthcare and Family Services,        )
                                                      )
 RICHARD FALEN, Supervisor of Appeals, Illinois       )
 Department of Healthcare and Family Services,        )
                                                      )
 EMILY YU, Director of Health Information Management, )
 NorthShore University HealthSystem,                  )

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 PETER HANNIGAN, Superintendent of Hawthorn           )
 School District #73,                                 )
                                                      )
 PEDRO MARTINEZ, Superintendent of Chicago Public     ) Case No. 1:22-cv-02177
 Schools,                                             )
                                                      )
 RUSSELL CASKEY, Assistant State Attorney,            ) Judge: DOW
                                                      )
 ROBERT CASELLI, Officer, Vernon Hills Police Dept.   ) Magistrate: COLE
                                                      )
 ADAM BOYD, Officer, Vernon Hills Police Dept.        )
                                                      ) Demand for Jury Trial
 TANIA DIMITROVA, Attorney,                           )
                                                      )
 BRADLEY R. TROWBRIDGE, Attorney                      )
                                                      )
 SAFE TRAVELS CHICAGO, LLC, Supervision Service       )
                                                      )
 MAXINE WEISS-KUNZ, Attorney,                         )
                                                      )
 STEWART J. AUSLANDER, Attorney,                      )
                                                      )
 KAREN A. ALTMAN, Attorney,                           )
                                                      )
 GARY SCHLESINGER, Attorney,                          )
                                                      )
 SHAWN D. BERSSON, Attorney,                          )
                                                      )
 TIFFANY MARIE HUGHES, Attorney,                      )
                                                      )
 RUSSELL M. REID, Attorney,                           )
                                                      )
 CANDACE L. MEYERS, Attorney,                         )
                                                      )
 MICHAEL P. DOMAN, Attorney,                          )
                                                      )
 STACEY E. PLATT, Attorney,                           )
                                                      )
 ELIZABETH ULLMAN, Attorney,                          )
                                                      )
 ANDREA D. RICE, Attorney,                            )
      Defendants.
                                       2
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    PLAINTIFF’S RESPONSE TO DEFENDANT HUGHES’ MOTION TO
          DISMISS COMPLAINT AS FILED ON JUNE 28, 2022

        NOW COMES the Plaintiff VANESSA WEREKO (“Vanessa”) pursuant to Rules 12 and

27(a)(3) of the Federal Rules of Civil Procedure and this Court’s June 1, 2022 Order (ECF 137)

to timely and respectfully move this Court to deny Defendant TIFFANY MARIE HUGHES

(“Hughes”) filing, “Hughes’ Motion to Dismiss Complaint” (ECF 153). In support, “Plaintiff’s

Memorandum In Support of Her Responses In Opposition to Motions to Dismiss” (ECF 182) is

incorporated here, by reference. The grounds for denial are the following:

        BACKGROUND

        1.      On June 28, 2022 Defendant Hughes requested dismissal of the Complaint (ECF

1,7) under Rule 12(b)(6) alleging: (a) the federal pleading standard has not been met (ECF 153 at

4-5); (b) the statute of limitations expired (ECF 153 at 5-6); (c) res judicata bars the claims against

her (ECF 153 at 6-7); (d) the domestic relations exception applies to Counts I, II, and V (ECF 153

at 7-8); (e) 2 judicial doctrines apply to Count VI, for compensatory damages (ECF 152 at 8-9).

        2.      The Complaint, pled in compliance to Rule 9(b), makes five (5) claims germane to

Defendant Hughes and requests:

        (a) Count I: Prospective Declaratory Relief that Vanessa Has Suffered and Continues to

Suffer from Racial Acts of Terror and a Conspiracy to Interfere with her Civil Rights that Deprives

her of Substantive Due Process Rights to Familial Association, Privacy, Integrity and Autonomy

Protected by the I, V, and XIV Amendments of the United States Constitution Pursuant to 42

U.S.C. §1983 and 42 U.S.C. §1985 (ECF 7 at 103-107, ¶¶ 334-341)

        (b) Count II: Prospective Declaratory Relief that Vanessa has suffered and continues to

suffer from the conspiracy to intentionally interfere with her civil rights to deprive her of the merits


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of the foreign judgment and the agreed allocation judgment, protected under state and federal laws

(ECF 7 at 108-119, ¶¶ 342-372);

       (c) Count III: Prospective Injunctive Relief to Enjoin Defendants from Further Racial Acts

of Terror, Under the Color of State Law, and from Depriving Vanessa of the Equal Protection of

the Laws Afforded to Her By Judgments Protected Under State and Federal Laws (ECF 7 at 119-

123, ¶¶ 373-384);

       (d) Count V: Prospective Declaratory Relief that Vanessa has suffered and continues to

suffer from a conspiracy to interfere with her civil rights pursuant to the fraudulent and

unconstitutional exercise of the state child support statute and injunctive relief to enjoin defendants

from further interference and unconstitutional deprivations under state law (ECF 7 at 127-130, ¶¶

398-412)

       (f) Count VI: Compensatory Damages and Costs, Pursuant to 42 U.S.C. § 1986 and 42

U.S.C. § 1988, from Defendants Who Failed to Prevent the Wrongdoings Perpetuated Against

Vanessa and Caused the Civil Rights Violation Pursuant to 42 U.S.C. § 1983. (ECF 7 at 130-142,

¶¶ 413-453)

       LEGAL STANDARDS

       3.      A court must construe “the complaint in the light most favorable to the plaintiff[],

accepting as true all well-pleaded facts, and drawing reasonable inferences in the plaintiff[]’s

favor. Tamayo v. Blagojevich, 526 F. 3d 1074, 1081 (7th Cir. 2008).

       4.      “A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the

sufficiency of the complaint, not the merits of the case.” Crockwell v. Dart 2013 WL 6796788

citing Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990)




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       5.      “To survive a motion to dismiss under Rule 12(b)(6), a complaint must ‘state a

claim to relief that is plausible on its face.’ Twombly 550 U.S. at 570, 127 S. Ct. 1955. ‘A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged’. Iqbal, 556 U.S. at

678, 129 S. Ct. 1937. ‘Where a complaint pleads facts that are ’merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of entitlement

to relief.’ Id. (quoting Twombly, 550 U.S. at 557, 127 S. Ct. 1955)” McReynolds v. Merrill Lynch

& Co., 694, F.3d 873 (7th Cir. 2012)

       6.      “[O]nce a claim has been stated adequately, it may be supported by showing any

set of facts consistent with the allegations in the complaint.” Twombly, 127 S.Ct. at 1969. The

Court reads the complaint and assesses its plausibility as a whole. Atkins v. City of Chicago, 631

F.3d 823, 832 (7th Cir. 2011)

       RESPONSIVE ARGUMENTS IN OPPOSITION TO MOTION

       7.      Federal Pleading Standard and Facial Plausibility: Defendant Hughes posits the

Complaint “has not met” the federal pleading standards (ECF 153 at 4); like other defendants who

filed before and after her, she has harvested legal conclusions without demonstrating any nuanced

appreciation of what the standards require and how the Complaint specifically fails; said

“argument” of “conclusions” should be stricken. The Complaint is pled under Rule 9(b) which

applies to “averments of fraud” and by definition, necessitates factual allegations in detail such as

“the identify of the person making the misrepresentation, the time, place, and content of the

misrepresentations, and the method by which the misrepresentation was communicated to the

plaintiff” Eastern Trading Co. v. Refco, Inc., 229 F.3d 617, 624 (7th Cir. 2000). Here, the

Complaint’s “statement of facts” section informs not only of several approximate/exact dates of

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the interactions with Defendant Hughes, but her misrepresentations and/or acts of extortion with

specificity and names the defendants with whom she conspired, which for her, included other

judicial officers not named as defendants, but informed by the specified state case numbers through

which further fraud is alleged as perpetuated, well past her tenure as counsel. (ECF 7 ¶¶ 69, 70,

71, 73, 76, 81). Any more defendants and factual details and the Complaint would have been

unwieldly; as it stands, it reasonably averages at 4 pages per named defendant. In addition, all

Vanessa is required to do with her Complaint is “give the defendant fair notice of what the…claim

is and the grounds upon which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing

Twombly, 550 U.S. at 555) Vanessa is not required to state all facts; the “factual allegations [she

provides] must be enough to raise a right to relief above the speculative level” Bell Atl. Corp. v

Twombly, U.S. 127 S. Ct. 1955, 1965, 167 L.Ed.2d 929 (2007).

       Here, Vanessa sues Defendant Hughes in her individual capacity (ECF 7 ¶27); §1983

individual capacity claims require a plaintiff to make a showing of personal involvement in the

alleged constitutional deprivation by the actor. Gentry v. Duckworth, 65 F.3d 555, 561 (7th Cir.

1995). “A plaintiff that successfully pleads the essential elements of the individual capacity claim

– namely, that a defendant had knowledge and consciously disregarded a serious risk – also

succeeds in alleging the personal involvement of the individual defendant by virtue of the fact that

those elements are subjective in nature.*** (holding that ‘an official satisfies the personal

responsibility requirement of section 1983***if the conduct causing the constitutional deprivation

occurs at his discretion or with his knowledge and consent” Crockwell Id. Here, the factual content

of the Complaint does not only allege Defendant Hughes had knowledge, but it also factually

alleges she consciously disregarded the risk of harm to Vanessa and participated in the wrongful

acts of a conspiracy (ECF 7 ¶¶ 73-81, 85, 353, 401-403) with several named defendants (ECF 7

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¶¶ 9, 22, 24, 25) in both Lake County and Cook County state actions which continue to cause

deprivations to Vanessa. The Complaint, as a whole, succeeds in giving her fair notice with dated

factual content; the truth of which will be further established during discovery.

       In the same token, Defendant Hughes, who moved to dismiss, is expected to do so on the

grounds that Vanessa failed to allege that she had knowledge and disregarded a serious risk to

allow for any plausible inference that she lacked “personal involvement” in the alleged act(s).

Defendant Hughes fails as she never moves past her hollow conclusions that the Complaint is

made up of “mere labels and conclusions” and “has no factual support or explanation as to the

importance of [a] fact” (ECF 153 at 4) to in anyway address the alleged “facts” that do exist nor

does she cite to any authority which requires Vanessa explain, at the pleading stage, “the

importance of a fact” alleged. Defendant Hughes appears to miss Rule 12(b)(6) is not testing the

merits/importance of any single factual allegation, but the facial plausibility of the Complaint, as

a whole. Atkins Id. Defendant Hughes never argues the Complaint, as a whole, is implausible; she

adroitly avoids pled facts, elects to declare them absent, as if doing so nullifies their existence or

the plausible inference of her alleged personal involvement in the alleged acts and deprivations.

       8.      Conspiracy at the Pleading Stage: Defendant Hughes then argues there are “no facts

supporting a conspiracy” (ECF 153 at 4) in a continuation of her avoidance of the factual

allegations where one, as an example, alleges “[Defendant] Salvi acted in concert with

[Defendant” Hughes and [Defendant] Weiss-Kunz to respectively impede and obstruct

Vanessa***by ordering (a) Vanessa’s withheld legal file [by Defendant Hughes] be released a

week after trial***” (ECF 7 ¶76). This is but one of several facts alleged. Under the federal notice

pleading standard, a plaintiff is not required to plead facts that match up with each element of a

cause of action. (See Sanjuan 40 F.3d at 251 (7th Cir. 1994)) The Seventh Circuit has stated

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unequivocally that “there is no requirement in federal suits of pleading the facts or the elements of

a claim…[and that] it is enough in pleading a conspiracy merely to indicate the parties, general

purpose, and approximate date, so that the defendant has notice of what [s]he is charged with.”

Walker v. Thompson 288 F.3d 1005, 1007 (7th Cir. 2022). The Complaint indicates the parties,

purpose, exact/approximate dates; the sufficiency requirement for pleading a conspiracy is met.

       9.      Res Judicata: After arguing the Complaint only alleges/states “labels and

conclusions” (ECF 153 at 3, 4, 5), Defendant Hughes then argues res judicata bars the claims

against her. Her former argument cannot co-exist with the latter where “two claims are one for

purposes of res judicata if they are based on the same, or nearly the same, factual allegations”

(emphasis added) (See Brzostowski v. Laidlaw Waste Sys., Inc., 49 F.3d 337, 339 (7th Cir. 1995)).

In essence, Defendant Hughes cannot eat her cake and have it; if there are “no facts” in the

Complaint as she preaches, she cannot argue res judicata nor this Court plausibly infer any identity

of causes of action as to do so requires an assessment of the “core operative facts” Brzostowski

Id., of the Complaint, relative to the alleged state case. Both of her arguments cannot hold or

concurrently prevail; this Court cannot assess res judicata on “labels and conclusions” thus it must

first find there are well-pled facts in the Compliant to lend to any assessment of res judicata.

       Notably, res judicata is an affirmative defense (Fed.R.Civ.P. 8(c)) which cannot be raised

until a motion for judgment on the pleadings pursuant to Fed.R.Civ.P.12 (c) (See Forty One News,

Inc., v. County of Lake, 491 F.3d 662, 664 (7th Cir. 2007). Defendant Hughes argues res judicata

in a motion to dismiss; Fed.R.Civ.P. 12(b) lists seven (7) defenses that may and must be brought

before a responsive pleading is filed, res judicata is not one of them. Other circuit courts that

accommodated res judicata, as a Rule 12(b)(6) exception, stated 2 conditions must first be met:

(a) the facts that establish the defense must be definitively ascertainable from the allegations of

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the Complaint, the documents (if any) incorporated therein, matters of public record, and other

matters of which the court may take judicial notice; (b) the facts so gleaned must conclusively

establish the affirmative defense of defendant. (Emphasis Added) (See Sledge v. Bellwood School

District 88 2010 WL 1579920 citing In re Colonial Mortgage Bankers Corp., 324 F.3d 12 (1st Cir.

2003)) As aforestated, there can be no assessment of res judicata without a prior finding that the

Complaint has “facts” instead of “labels and conclusions”.

       If the above two conditions for the exception are met, res judicata requires three prongs to

be established: (a) a final judgment on the merits, rendered by a court of competent jurisdiction;

(2) an identify of causes of action; (3) an identify of parties. (Hart Steel Co. v. Railroad Supply

Co., 244 U.S. 294, 37 S. Ct. 506) In the half-hearted content proffered by Defendant Hughes as

her argument, she does not even come close to satisfying the three prongs (ECF 153 at 7).

        Defendant Hughes fails to argue or establish her law firm’s “breach of contract” alleging

attorneys’ fees in 2016 is equivalent to Vanessa’s constitutional claims, under §§1983 and 1985,

alleging an ongoing conspiracy with deprivations, involving several defendants not parties in her

law firm’s breach of contract suit years prior; though Defendant Hughes’ representation of

Vanessa concluded in 2016, nowhere in the Complaint is it alleged all the alleged wrongful acts

were discovered during the lawsuit she initiated and/or restricted to the period of her representation

nor that all damages accrued in 2016. Defendant Hughes also fails to argue or establish how her

law firm’s contract terms, to protect her law firm’s interests, are equivalent to the I, V, and XIV

Amendments of the US Constitution to protect Vanessa’s rights as a human, a parent and a citizen

for her lawsuit to have plausibly adjudicated her constitutional claims. Nor does she share how her

law firm’s breach of contract case in 2016 could have possibly addressed all damages which could

not have accrued until after the second state action’s conclusion. There can be no plausible

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inference a “final judgment on the merits” in an alleged “breach of contract” state action in 2016

is applicable as a judgment for prospective, injunctive and compensatory relief in 2022 for

conspiracy claims predicated on defendant’s alleged fraud, where the fraud claims rely on the

theory a defendant aided and abetted or conspired with other defendants in defrauding Vanessa.

Borsellino v. Goldman Sachs Group, Inc., 477 F.3d502, 507 (7th Cir. 2002) Other state actors,

including judicial officers and attorneys here (ECF 7 ¶¶ 73-81, 85, 353, 401-403), could not

plausibly have been part of her law firm’s contract with Vanessa in 2016. It borders on the bizarre

to allege a re-litigation of a “breach of contract” suit premised on a law firm’s contract is equivalent

to a federal action premised on the US Constitution and the rights it protects for all. A facial

comparison of the causes of action, the time periods involved, and the identity of the parties inform

there is no possibility of equivalence. The res judicata argument should be stricken/denied.

        The only thing that Defendant Hughes making the res judicata argument here achieves is

affirming what the Complaint alleged (ECF 7 ¶81); that she had knowledge Vanessa had not

acquired sufficient information regarding injuries nor damages in 2016, with the second state

action just started in 2016, but fraudulently asserted a lawsuit early with intent to impede and

defraud Vanessa of future claims to damages she knew could not have been discovered or accrued

in 2016, until after the series of cascading events her actions triggered – the second state action –

is resolved. Consequently, her law firm sued for “dismissed” fees from Lake County, in and of

itself fraudulent, and worked in concert with another state judicial officer (not a named defendant)

to violate res judicata and re-possess the dismissed fees, the very same doctrine she now seeks to

nefariously misuse here for illicit personal gain, at the perpetual expense of depriving Vanessa for

injuries, well past her time as counsel, that are “in fact fairly traceable to [] [her and] that is capable




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of being redressed through a favorable judicial ruling” here. (See J.B. v. Woodward, 997 F.3d 714,

720-25 (7th Cir. 2021) citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)).

        10.     Statute of Limitations: Similar to res judicata, the statute of limitations argument

is an affirmative defense and Vanessa is not required to anticipate affirmative defenses in her

Complaint nor did she plead herself out of court as she never established defendants, including

Defendant Hughes, are entitled to a statute of limitations defense. (See United States v. Northern

Trust Co., 372 F. 3d 886, 888 (7th Cir. 2004), United States v. Lewis, 411 F.3d 838, 842 (7th Cir.

2005)). As in Vanessa’s response to other defendants who went for the same argument (See ECF

178 ¶ 10, ECF 180 ¶ 9), said argument should be stricken. This Court should review, Vanessa’s

arguments made in the aforestated responses for why the 2-year limitations argued by Defendant

Hughes, do not apply to Vanessa’s “conspiracy claims” with no time bars per the Illinois

Fraudulent Concealment Statute (735 ILCS 5/13-215) and conditions set forth by the federal court.

        . As prior argued, it is not plausible that discovery could have occurred in 2016, even if a

statute of limitations were to apply, nor plausible that Vanessa knew or reasonably could have

known of all injuries in 2016 and that they were wrongfully caused to determine a cause of action

exists years before the second state action concluded and the Anti-Lynching Bill passed into law.

(ECF 7 ¶¶ 280-288) It is not plausible that Vanessa knew or could have known in 2016 any of the

foregoing; she is not psychic just a pro se minority woman and mother fighting with all she has to

survive relentless onslaughts on her life and her rights for years. (ECF 7 ¶1, 10) None of Vanessa’s

claims are hopelessly time-barred, if any limits apply at all.

        As per the Complaint, Defendant Hughes’ misconducts, in concert with several named

defendants, willfully hindered and derailed the first state action initiated by Vanessa, to faciliate

the illicit birth of the second state action and all the atrocities that resulted therefrom. (ECF 7 ¶73-

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85) Vanessa was barred from this Court whiles state actions were pending a decision to avoid the

impression that she seeks a favorable federal court judgment to use to influence “ongoing” state

proceedings, as suggested to derail other plaintiffs who came before this Court. (See ECF 182)

Indeed, when Vanessa first came to this Court in 2021 on very limited claims, after the state

appellate court review completed for her appeal, this Court still booted her out with a sua sponte

dismissal, without notice, before any defendants could file an appearance arguing state

proceedings are “ongoing” predicated on the state appellate court ordering “new” custody

proceedings in violation of stare decesis that further protracted resolution of the second state

action. (ECF 7 ¶¶ 8, 36) The ordered additional proceedings of the state appellate court was further

protracted by assigned state judicial officers in the state circuit court who never find it necessary

to “expedite” any relief for Vanessa and her minority children, after years of deprivations in the

state courts, and delayed the ordered additional proceedings only to conduct the same, in violation

of the Double Jeopardy Clause of the Fifth Amendment of the US Constitution, a year after the

state appellate order to conclude in 2022. (ECF 7 ¶¶246-251) Now, the unlawful and continuing

detainment of Vanessa in the state court is driven by its refusal to issue a written order for its

rulings in the concluded proceedings. (ECF 7 ¶¶ 280-288) Between the conditions imposed by this

Court and the efforts of defendants preventing, by fraud and deception, an earlier conclusion of

the state actions, Vanessa could not have come any earlier to this Court than she did. For the exact

same reasons as described in prior responses on statute of limitations (ECF 178, 180), until/unless

federal courts can compel and hold state courts accountable to timely and properly conclude state

actions in a fixed time, arbitrarily imposing a fixed time on filing constitutional claims under §1983

is hostile to plaintiffs and abets defendants, like Defendant Hughes, trying to escape liability who

never argue or prove the state courts’ willingness to address or addressed plaintiffs’ claims.

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       11.     Domestic Relations Exception: After arguing there are “no facts” in the Complaint

and making two (2) affirmative defenses which are not allowed in motions to dismiss

(Fed.R.Civ.P. 12(b)), Defendant Hughes abandons Rule 12(b)(6) to try her luck with a Rule

12(b)(1) argument on jurisdiction, by calling on the infamous judicial doctrine, the domestic

relations exception, as applying to three (3) of the five (5) claims against her. (ECF 153 ¶ E) In

response to Defendant Hughes’ argument regarding the Domestic Relations Exception, see

“Plaintiff’s Memorandum In Support of Her Responses In Opposition to Motions to Dismiss”

(ECF 182) and a prior response to another defendant (ECF 178 ¶12), which argue the Domestic

Relations Exception does not apply here.

       12.     Rooker-Feldman Doctrine: In response to Defendant Hughes’ argument regarding

J.B. v. Woodward and Rooker-Feldman doctrine, see “Plaintiff’s Memorandum In Support of Her

Responses In Opposition to Motions to Dismiss” (ECF 182) which argues the Rooker-Feldman

doctrine does not apply here.

       CONCLUSION

       VANESSA WEREKO prays that this Court enter an order to deny “Hughes’ Motion to

Dismiss Complaint” (ECF 153) as filed on June 28, 2022 in consideration of the foregoing

responsive arguments in opposition, to allow this case progress to discovery for the well-pled,

factual content for all six (6) claims, including the five (5) claims germane to Defendant TIFFANY

MARIE HUGHES given fair notice of what she has to defend.


Dated: July 4, 2022                                 RESPECTFULLY SUBMITED:



                                                     /s/ Vanessa Wereko
                                                     VANESSA WEREKO
                                                     675 Lakeview Pkwy #5035
                                                     Vernon Hills, IL 60061
                                               13    Main No.: 847-637-7142
                                                     Email: werekovb@me.com
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                               CERTIFICATE OF SERVICE
The undersigned certifies pursuant to 28 U.S.C. §1746 that she filed “Plaintiff’s Response to
Defendant Hughes’ Motion to Dismiss Complaint As Filed on June 28, 2022” using the Clerk of
Court’s Electronic Case Filing system on this 4th day of July, 2022 which provides notification
of same to the above-referenced parties of record when there has been an appearance filed.


                                                    /s/ Vanessa Wereko
                                                    VANESSA WEREKO
                                                    675 Lakeview Pkwy #5035
                                                    Vernon Hills, IL 60061
                                                    Main No.: 847-637-7142
                                                    Email: werekovb@me.com




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